Case 17-00856-LT13   Filed 03/01/17   Entered 03/01/17 17:17:42   Doc 10   Pg. 1 of 12
Case 17-00856-LT13   Filed 03/01/17   Entered 03/01/17 17:17:42   Doc 10   Pg. 2 of 12
Case 17-00856-LT13   Filed 03/01/17   Entered 03/01/17 17:17:42   Doc 10   Pg. 3 of 12
Case 17-00856-LT13   Filed 03/01/17   Entered 03/01/17 17:17:42   Doc 10   Pg. 4 of 12
Case 17-00856-LT13   Filed 03/01/17   Entered 03/01/17 17:17:42   Doc 10   Pg. 5 of 12
Case 17-00856-LT13   Filed 03/01/17   Entered 03/01/17 17:17:42   Doc 10   Pg. 6 of 12
Case 17-00856-LT13   Filed 03/01/17   Entered 03/01/17 17:17:42   Doc 10   Pg. 7 of 12
Case 17-00856-LT13   Filed 03/01/17   Entered 03/01/17 17:17:42   Doc 10   Pg. 8 of 12
Case 17-00856-LT13   Filed 03/01/17   Entered 03/01/17 17:17:42   Doc 10   Pg. 9 of 12
Case 17-00856-LT13   Filed 03/01/17   Entered 03/01/17 17:17:42   Doc 10   Pg. 10 of
                                        12
Case 17-00856-LT13   Filed 03/01/17   Entered 03/01/17 17:17:42   Doc 10   Pg. 11 of
                                        12
Case 17-00856-LT13   Filed 03/01/17   Entered 03/01/17 17:17:42   Doc 10   Pg. 12 of
                                        12
